                                                                  THIS ORDER IS APPROVED.


                                                                   Dated: March 26, 2021



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                                                                  Brenda Moody Whinery, Chief Bankruptcy Judge
   3                                                              _________________________________

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   7
                            IN THE UNITED STATES BANKRUPTCY COURT
   8
                                    FOR THE DISTRICT OF ARIZONA
   9
       In re:                                          )
  10                                                   )   Chapter 7 Proceedings
                                                       )
       LETICIA G SALAZAR
  11                                                   )
                                                       )
                                                           CASE NO. 4-08-bk-17171-BMW
  12                                                   )
                                                       )   ORDER FOR PAYMENT OF
  13            Debtor(s)                              )   UNCLAIMED FUNDS TO THE U.S.
                                                       )   BANKRUPTCY COURT
  14                                                   )

  15            Upon application of the Trustee and good cause appearing,
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                IT IS ORDERED that pursuant to 347(a) of the Bankruptcy Code the Trustee pay over
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       the amount of $6,740.99 to the Clerk of the Court to be deposited in the Registry thereof.
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  19   DATED AND SIGNED ABOVE
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